  Case 16-03644      Doc 51   Filed 12/13/18 Entered 12/14/18 09:27:33               Desc Main
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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                     Eastern Division

In Re:                                      )                BK No.:     16-03644
JUAN G. MORALES and LETICIA                 )
MORALES                                     )                Chapter: 13
                                            )
                                                             Honorable Donald R. Cassling
                                            )
                                            )
              Debtor(s)                     )

                           ORDER MODIFYING CHAPTER 13 PLAN

       This cause coming before the Court on Debtors' Motion to Modify Chapter 13 Plan; the Court
being fully advised in the premises and having jurisdiction of the subject matter, IT IS HEREBY
ORDERED:

  1. Debtors' Motion to Modify Chapter 13 Plan is granted.

  2. Debtors' $3,928.00 delinquency will be deferred to the end of the plan term.

  3. Debtors' plan base will be increased to $68,396.00

  4. Commencing with the November 2018 payment to the trustee, Debtors will pay to the trustee
$1,238.00 monthly for 27 months to be paid in the amount of $1,454.00 monthly for any plan payment
due in January, February, March, April, May, June, September, October, November, and December (not
July and August)

  5. Debtors will not make payments to the trustee in months of July and August for the duration of
the plan term.

                                                          Enter:


                                                                   Honorable Donald R. Cassling
Dated: December 13, 2018                                           United States Bankruptcy Judge

 Prepared by:
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